Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 1 of 49 Page ID #:50




  1 JOEL KOZBERG (Bar No. 90197)
    jkozberg@kozberglaw.com
  2
    KOZBERG & BODELL LLP
  3 1801 Century Park East, 16th Floor
    Los Angeles, CA 90067
  4
    Telephone : (310) 553-1333
  5 Facsimile : (310) 553-1303
  6
    Attorneys for Plaintiff
  7 HAR-CMBS I, LLC
  8
  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11                                  WESTERN DIVISION
 12
      HAR-CMBS I, LLC,                          Case No. 2:22-CV-02104
 13
                        Plaintiff,              COMPLAINT FOR BREACH OF
 14                                             WRITTEN GUARANTY
      v.
 15
    NATIN PAUL: and NATIN PAUL AS
 16 TRUSTEE OF THE NATIN PAUL
    MANAGEMENT TRUST DATED
 17 FEBRUARY 29, 2012,
 18                Defendants.
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                COMPLAINT FOR BREACH OF WRITTEN
                                            1   GUARANTY
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 2 of 49 Page ID #:51




  1         Plaintiff HAR-CMBS I, LLC (“Plaintiff” or HAR-CMBS”) hereby complains
  2 and alleges against Defendant Natin Paul, individually, and as the Trustee of the
  3 Natin Paul Management Trust Dated February 29, 2022 (“Defendants”) as follows:
  4                            JURISDICTION AND VENUE
  5         1.    This Court has subject matter jurisdiction of this action pursuant to 28
  6 U.S.C. § 1332. Plaintiff is a Delaware limited liability company the sole member of
  7 which is a citizen of California. Defendant is a citizen of the State of Texas. As
  8 alleged more fully below, the amount in controversy herein is more than $75,000,
  9 exclusive of interest and costs of court.
 10         2.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
 11 because, as alleged more fully below, Plaintiff and Defendant agreed in writing that
 12 the exclusive venue for the claims alleged herein shall be this District and this Court
 13 has personal jurisdiction over the parties.
 14                                        PARTIES
 15         3.    Plaintiff HAR-CMBS I, LLC, is a Delaware limited liability company
 16 the principal office of which is located in Los Angeles, California. The sole member
 17 of Plaintiff is domiciled in Los Angeles and is a citizen of the State of California.
 18 HAR-CMBS invested significant sums of money in and is the sole “Class B
 19 Member” of World Class CMBS I MM, LLC (the “Company”). HAR-CMBS is the
 20 holder of a written guaranty in its favor, dated December 7, 2016, pursuant to which
 21 Defendants unconditionally guaranteed the full repayment of the monies invested by
 22 HAR-CMBS in the Company, including but not limited to HAR-CMBS’s capital
 23 contribution, plus preferred returns, and all other amounts payable to HAR-CMBS
 24 pursuant to the operating agreement of the Company.
 25         3.    Upon information and belief, Defendant Natin Paul is an individual and
 26 a citizen of the State of Texas. Defendant is named herein in his individual capacity,
 27 and separately as the Trustee of the Natin Paul Management Trust Dated February
 28 29, 2012.
                                                      COMPLAINT FOR BREACH OF WRITTEN
                                                  2   GUARANTY
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 3 of 49 Page ID #:52




  1                                         FACTS
  2        4.     On or about December 7, 2016, the Limited Liability Company
  3 Agreement of the Company (the “Operating Agreement”) was executed by World
  4 Class Holdings, LLC as its Managing Member (the “Managing Member”), and
  5 HAR-CMBS as the Class B Member of the Company. A true and accurate copy of
  6 the Operating Agreement is attached hereto as Exhibit 1. Pursuant to the Operating
  7 Agreement, $30,000,000.00 was invested by HAR-CMBS as the “Initial Capital
  8 Contribution” for the Class B membership interest in the Company. The Company
  9 was to serve as the managing member of World Class CMBS I, LLC, which in turn
 10 was formed to acquire E, F, G, and H classes of bonds of Wells Fargo Commercial
 11 Mortgage Trust 2016-LC25 (the “Property”).
 12        5.     Further, on or about December 7, 2016, Defendants signed a written
 13 Guaranty (the “Guaranty”), a true and accurate copy of which is attached hereto as
 14 Exhibit 2, to induce HAR-CMBS to make the Initial Capital Contribution to the
 15 Company. Pursuant to the Guaranty, Defendants, unconditionally, jointly and
 16 severally, guaranteed to HAR- CMBS the repayment of the $30,000,000.00 Initial
 17 Capital Contribution, full payment of the Preferred Return required by the Operating
 18 Agreement, and the full performance of the Company’s payment Obligations to
 19 HAR-CMBS under the Operating Agreement (referred to in the Guaranty as the
 20 “Indebtedness” and as the “Guaranteed Obligations”). The Guaranteed Obligations
 21 are payable to HAR-CMBS by each of the Guarantors immediately upon demand in
 22 the event of any default of the Company with respect to the Indebtedness and, in the
 23 event of a failure to repay the Initial Capital Contribution, as and when required by
 24 the Operating Agreement.
 25        6.     Pursuant to Section 1(a) of Appendix B (“Appendix B”) of the
 26 Operating Agreement, the Company was required to make certain payments to
 27 HAR-CMBS. The Company was required to make monthly distributions to HAR-
 28 CMBS of the Class B Preferred Return in the amount of $450,000.00. HAR-CMBS,
                                                   COMPLAINT FOR BREACH OF WRITTEN
                                               3   GUARANTY
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 4 of 49 Page ID #:53




  1 as the Class B Member, was permitted to withhold $1,350,000.00 from its Initial
  2 Capital Contribution provided to the Company, which HAR-CMBS could apply in
  3 the event the Company failed to pay the required monthly distribution. The
  4 Company was required to pay the total unpaid and outstanding Class B Invested
  5 Capital to HAR-CMBS (the sole Class B Member) no later than December 7, 2018.
  6 Effective July 25, 2019, the Operating Agreement was amended in writing by the
  7 Managing Member and HAR-CMBS to change the Class B Invested Capital to the
  8 Class B Member final repayment date to not later than August 7, 2020 (the
  9 “Amendment”). A true and accurate copy of the Amendment is attached hereto as
 10 Exhibit 3.
 11        7.     The Company failed to make the required monthly distributions to
 12 HAR-CMBS beginning in January 2020.
 13        8.     By April 2020, HAR-CMBS had applied to the due but unpaid monthly
 14 distributions of the Company the entirety of the $1,350,000.00 withheld from its
 15 Initial Capital Contribution.
 16        9.     Thereafter, because of the continuing failure by the Company to make
 17 the required monthly distributions, HAR-CMBS made written demands (the
 18 “Notices of Failure to Pay”) to the Company to make the missed distributions. True
 19 and accurate copies of the Notices of Failure to Pay collectively are attached as
 20 Exhibit 4. Defendants were provided with the Notices of Failure to Pay. Despite
 21 HAR-CMBS’s Notices of Failure to Pay, the Company failed to timely repay the
 22 missed monthly distributions or replenish the reserve, all of which was required
 23 pursuant to Appendix B of the Operating Agreement.
 24        10.    As a result, on July 6, 2020, HAR-CMBS provided to the Company
 25 Notice of Default, declaring a “Company Default” pursuant to Section 2 of
 26 Appendix B of the Operating Agreement. A true and accurate copy of the Notice of
 27 Default is attached hereto as Exhibit 5. Defendants were provided with the Notice of
 28 Default. Thereafter, the Company failed to pay the balance of the Class B Invested
                                                   COMPLAINT FOR BREACH OF WRITTEN
                                               4   GUARANTY
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 5 of 49 Page ID #:54




  1 Capital, which payment was required not later than August 7, 2020, pursuant to the
  2 Amendment. By reason of the Company Default and the failure to pay the balance
  3 of the Class B Invested Capital, HAR-CMBS is entitled to all remedies provided by
  4 Sections 2(a), 2(b) and 5(b) of Appendix B of the Operating Agreement. Section
  5 2(a) of Appendix B specifically provides that after a Company Default, HAR-
  6 CMBS may proceed directly with claims under the Guaranty against Defendants.
  7 Such Guaranty claims are to recover all monies payable to the HAR- CMBS,
  8 including but not limited to: (i) the then outstanding Invested Capital; (ii) plus the
  9 Class B Preferred Return earned to such date; (iii) plus all Additional Class B
 10 Payments (if any) that are owing under Appendix B. In addition, under Appendix B
 11 and the Guaranty, HAR- CMBS is entitled to recover all actual, reasonable, out-of-
 12 pocket expenses, costs and fees (including reasonable attorneys’ fees and costs)
 13 arising from the Company’s failure to make all payments due. The Company
 14 Default remains uncured.
 15                             FIRST CLAIM FOR RELIEF
 16                   Breach of Written Guaranty Against Defendants
 17        11.    Plaintiff repeats, realleges and incorporates by reference the allegations
 18 of Paragraphs 1 through 10 above, as if fully set forth herein.
 19        12.    Pursuant to the Guaranty and by reason of the Company’s default,
 20 Defendants were required to pay to Plaintiff all amounts owing to Plaintiff pursuant
 21 to the terms of the Operating Agreement. Despite demand by Plaintiff, Defendants
 22 have failed and refused to pay the amounts due pursuant to the Guaranty and
 23 Defendants are in breach thereof.
 24        13.    Plaintiff has performed all duties and obligations required of it by the
 25 Operating Agreement and the Guaranty except as excused or waived by Defendants
 26 and the Company.
 27        14.    By reason of the breaches by Defendants of the Guaranty, Plaintiff has
 28 been damaged in an amount to be proven at trial, including repayment of the unpaid
                                                    COMPLAINT FOR BREACH OF WRITTEN
                                                5   GUARANTY
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 6 of 49 Page ID #:55




  1 balance of the $30,000,000 Initial Capital Contribution, full payment of the
  2 Preferred Return due Plaintiff pursuant to the Operating Agreement, and
  3 performance of the other obligations of the Company pursuant to the Operating
  4 Agreement, which amount presently exceeds $11,000,000. In addition, Plaintiff
  5 shall recover all costs and expenses as provided by the Guaranty, including its
  6 attorney’s fees.
  7                               PRAYER FOR RELIEF
  8        WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
  9 them, as follows:
 10        1.    For damages for breach of Guaranty in an amount in excess of
 11 $11,000,000 according to proof;
 12        2.    For interest thereon;
 13        3.    For costs of suit, including attorney’s fees; and
 14        4.    For such other and further relief as the Court deems just and proper.
 15 DATED: March 30, 2022                  KOZBERG & BODELL LLP
 16
 17
                                                  /s/ Joel Kozberg
 18                                        By: _______________________________
                                                 JOEL KOZBERG
 19
                                           Attorneys for Plaintiff HAR-CMBS I, LLC
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                  COMPLAINT FOR BREACH OF WRITTEN
                                              6   GUARANTY
Case 2:22-cv-02104-FLA-KS
              . I         Document 5 Filed 03/30/22 Page 7 of 49 Page ID #:56




                              EXAIDITl


                                      7
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 8 of 49 Page ID #:57




                                 WORLD CLASS CMBS I MM., LLC


                         LIMITED LIABILITY COMPANY AGREEJMENT


         TIIlS LIMITED LIABILITY COMPANY AGREEivfENT of World Class CMBS I M:M, LLC
 (the "Company') is made and entered into as of December 7, 2016 (the "Effective Date"), by and
 between World Class Holdings, LLC (the "Managing Member"), and the Class B Member (as hereinafter
 defined).

                                      Article I. General Provisions

        Section 1.01. Definitions. For all purposes of this Agreement, except as otherwise expressly
 provided or unless the context otherwise requires:

                  (a)    Act. "Act" means the Delaware Limited Liability Company Act, as in effect
 from ti.me to time.

                (b)     Agreement "Agreement" means this Limited Liability Company Agreement, as
 amended and/or restated from time to time.

               (c)      Certificate. "Certificate" means the Certificate of Formation for the Company
 and all amendments thereto as filed in the appropriate public offices within the State of Delaware.

                  (d)    Code. ''Code" means the Internal Revenue Code of 1986, as amended.

                  (e)   Member. "Member'' means each of the Class A Members and the Class B
 Member. <'Class A Member" means (i) each Person (as here4lafter defined) named as a Class A
 Member on Appendix "A" attached hereto, and (ii) any other Persons who are admitted to the
 Company either as an additional or substitute Class A Member pursuant to and in accordance with the
 terms of this Agreement. As used herein, uaass B Member" means (1) each of the Persons named as
 a Class B Member on Appendix "A" attached hereto, and (2) any other Persons who are admitted to
 the Company either as an additional or substitute Class B Member pursuant to and in accordance with
 the terms of this Agreement.

                  (f)    Person. "Person" means any natural person or any entity of any kind.

                  (g)      Promote Payments. "Promote Payments" means the difference between (x) the
 distnoutions made to the Company in its capacity as managing member of World Class CMBS I, LLC
 pursuant to Sections 5.1, 5.2 and 11.4 of the World Class CMBS I Agreement (other than any
 distnoutions made to the Company in respect of any loans or capital contnouti.ons made by the Company
 to World Class CMBS I) as reduced by (y) such amounts as the Managing Member deems appropriate to
 pay, or set aside reserves for, expenses of the Company.

              (h)     Property. "Property'> means the E, F, G and H classes of bonds of Wells Fargo
 Commercial Mortgage Trust 2016-LC25 with a face value of approximately $76,400,000.

                  (i)    Share of Profits and Losses. The "Share of Profits and Losses" for each Member
 shall be as set forth on Appendix A hereto.


 ACTIVE/80750130.1
 4826-5796-9954


                                                    8
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 9 of 49 Page ID #:58




               G)       World Class CMBS I. "World Class CMBS f' means World Class C:MBS I,
 LLC, a Delaware limited liability company.

                 (k)    World Class CMBS I Agreement. "World Class CMBS I Agreement" means the
 Limited Liability Company Agreement of World Class CMBS I, LLC, as amended and/or restated from
 time to time.

        Section 1.02. Company Name. The Company shall do business under the name of "World
 Class CMBS I:MM, LLC."

       Section 1.03. Fiscal Year. Except as otherwise provided by the Code, the fiscal year of the
 Company shall be the calendar year, or such other fiscal year as the Managing Member shall designate.

         Section 1.04. Rights and Liability of Members.

                   (a)      The rights of the Members are set forth in this Agreement; provided, however,
 certain special rights, terms and conditions that shall apply as long as a Class B Member exists are set
 forth on Appendix "B" attached hereto and incorporated herein by this reference. In the case of any
 conflict between the terms of this Agreement and the terms of Appendix "B," the terms of Appendix
 "B" shall control.

                  (b)       No Member shall be liable to the Company for the repayment, satisfaction and
 discharge of its debts, liabilities and obligations except to the extent provided in the non-waivable
 provisions of the Act. The rights and liabilities of the Members shall be as provided in the Act, except as
 expressly provided herein. In the event of any inconsistency between any terms and conditions contained
 in this Agreement and any non-mandatory provisions of the Act, the terms and conditions of this
 Agreement shall govern.

         Section 1.05. Pwposes and Powers.

                   (a)     The Managing Member hereby confirms the formation of the Company as of
 December 5, 2016 (the "Formation Date") as a limited liability company under and pursuant to the
 provisions of Delaware Limited Liability Company Law and all other pertinent laws of the State of
 Delaware for the purposes and upon the terms and conditions hereinafter set forth. Members hereto agree
 that the rights, duties, and liabilities of Members, and any additional Members admitted to the Company
 in accordance with the terms hereof, shall be as provided in Delaware Limited Liability Company Law,
 except as otherwise provided herein. The Managing Member further confirms that, from the Formation
 Date to the date of this Agreement, the Company has entered into no operating agreement and has
 conducted no activities.

                 (b)     The purpose of the Company is to serve as the managing member of World Class
 C:MBS I, and to engage in any other activities necessary, related or incidental thereto. World Class C:MBS
 I has been formed to acquire the Property.

                 (c)    The Company shall have and may exercise all of the powers that can be
 conferred upon and exercised by a limited liability company formed pursuant to the Act.




                                                     2
 ACTIVE/80750130.1
 4826-5796-9954


                                                      9
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 10 of 49 Page ID #:59




                                    Article II. Management of Company

          Section 2.01. Authority of Managing Member. The management, operation and
  implementation of policy of the Company shall be, and hereby are, vested exclusively in the Managing
  Member who shall have full control of and shall manage the business and affairs of the Company. The
  Managing Member shall have the power to exercise the powers, rights and authority granted to the
  Company hereunder on behalf and in the name of the Company. In addition to the specific rights and
  powers granted herein, and subject to the terms and conditions contained herein, the Managing Member
  shall have all the powers and rights of a manager under the Act.

          Section 2.02. Intentionally Omitted.

            Section 2.03. Reliance by Third Parties. Notwithstanding any other provision of this Article II,
  any third party dealing with the Company may rely conclusively upon the authority, power and right of
  the Managing Member acting under this Agreement. This Section 2.03 shall not be deemed to limit the
  liabilities and obligations of the Managing Member as set forth in this Agreement.

           Section 2.04. Exculpation of Liability. Neither the Managing Member, its owners nor any of
  their respective officers, partners, managers, members, directors, agents or other representatives (each an
  ''Indemnified Party") shall be liable to the Company or the Members for any loss, liability, damage or
  expense (a "Loss") except for any Loss which is finally adjudicated by a court of competent jurisdiction
  to be primarily attributable to the gross negligence, willful malfeasance or fraud of such Indemnified
  Party in connection with its activities on behalf of the Company.

          Section 2.05. Indemnification. The Company will indemnify the Indemnified Parties against
  all Losses to which any of such Persons may become subject in connection with the Company; provided,
  however, that indemnification shall not be paid hereunder to any such Person with respect to any Loss
  which is finally adjudicated by a court of competent jurisdiction to be primarily attributable to the gross
  negligence, willful malfeasance or fraud of such Indemnified Party in connection with its activities on
  behalf of the Company.

            Article ill. Capital Contributions, Distributions, Allocations, Tax Matters, Emenses

           Section 3.01. Capital Contributions. Concurrently herewith, the Members have contributed the
  amounts set forth on Appendix "A" attached hereto and incorporated herein by this reference. Subject
  to Section 3.04, the Members shall not be required to make any capital contributions to the Company.
  The Managing Member, in its sole and absolute discretion, may make capital contributions to the
  Company at such times and in such amounts and for such purposes as it deems advisable in its sole
  discretion.

           Section 3.02. Distributions; Allocations. Subject to Section 3.04, all Promote Payments
  received by the Company shall be distnouted among the Members in proportion to their respective Share
  of Profits and Losses. All other amounts received by the Company from any source shall be distributed
  solely to the Managing Member. All items of income, gain, loss and deduction attributable to the
  Promote Payments, as determined by the Managing Member in its sole discretion, shall be allocated
  among the Members in proportion to their respective Share of Profits and Losses. All other items of
  income, gain, loss and deduction shall be allocated solely to the Managing Member.

         Section 3.03. Tax Matters. The Managing Member will serve as the "Tax Matters Member'' of
  the Company and will file all United States Federal, state or other income tax returns required of the

                                                       3
  ACTIVE/80750130.1
  4826-5796-9954


                                                       10
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 11 of 49 Page ID #:60




  Company. The membership interests in the Company granted to the Members on the Effective Date are
  each intended to constitute a ''profits interest" for federal income tax purposes and this Agreement shall
  be interpreted in a manner consistent with such intent. The Managing Member, in its capacity as Tax
  Matters Member, hereby appoints Armanino, LLP to serve as the accountant and prepare tax returns for
  the Company, for which services the Company shall pay at reasonable and customary fees for such
  accounting work No other or additional accountant shall serve in this capacity unless approved by the
  Tax Matters Member in its sole and absolute discretion. Harvey Bookstein is the Managing Member of
  the Manager of the Class B Member, and is a Founding Partner ofRBZ, LLP, a predecessor to Armanino,
  LLP.

           Section 3.04. EXl}enses. To the extent that the Managing Member determines that there are not
  sufficient Promote Payments available to pay, or set aside reserves for, expenses of the Company, the
  Managing Member shall send a written capital call notice to each Member stating the total amount of
  equity capital being called to pay, or set aside reserves for, expenses of the Company (the "Call
  Amount''), each Member's pro rata share of such Call Amount (based on its Share of Profits and Losses),
  the intended use of such Call Amount and a due date for each Member to fund its pro rata share of such
  Call Amount, which shall be no less than 10 days after such notice is deemed to have been given pursuant
  to Section 7.03. In the event that a Member fails to pay its pro rata share ofa Call Amount within such
  time period (such amount not :funded, the "Default Amount''), then the other non-defaulting Member may
  elect to fund the Default Amount within 10 days after the deadline for the original. If the non-defaulting
  Member elects to fund any portion of the Default Amount then the total amount of the Call Amount
  funded by the non-defaulting Member (both its original pro rata share of the Call Amount which it funded
  and the portion of the Default Amount which it :funded) shall be treated as a loan from the non-defaulting
  Member to the Company and shall be documented as such. Any such loan shall bear interest at twelve
  percent (12%) per annum and shall be repaid in full from Promote Payments prior to making any
  distributions of Promote Payments to the Members hereunder.

                            Article IV. Withdrawal of Profits. Gains or Capital

          Section 4.01. Limitation on Withdrawal. No Member shall be permitted to withdraw profits,
  gains or capital from the Company or withdraw as a Member without the prior written approval of the
  Managing Member, which approval may be withheld for any reason. Notwithstanding the foregoing, the
  Class B Member shall have the right to withdraw as a Member of the Company pursuant to the terms of
  Appendix "B" attached hereto.

                                 Article V. Transfer of Company Interests

           Section 5.01. Assignability of Interests; Substituted Members. The interest ofa Member shall
  not be assignable without the prior written consent of the Managing Member, which consent may be
  withheld in the Managing Member's sole discretion. No assignment shall be binding upon the Company
  until the Managing Member receives an executed copy of such assignment in form and substance
  satisfactory to the Managing Member in its sole discretion. No Member shall have the right to substitute
  an assignee as a Member in its place. The Managing Member shall have the power, in its discretion, to
  admit as a substituted Member any Person acquiring a Company interest by assignment from a Member.
  The admission ofan assignee as a substituted Member shall be conditioned upon the assignee's written
  assumption of all obligations of the assigning Member, the assignee's execution of this Agreement as a
  Member and such other conditions as the Managing Member determines to be appropriate.




                                                      4
  ACTIVE/8075Q130.1
  4826-5796-9954


                                                     11
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 12 of 49 Page ID #:61




                             Article VI. Duration and Liquidation of Company

         Section 6.01. Duration. The Company shall continue until the earlier of (x) the date on which
 the Company is terminated by mutual agreement of all of the Members, (y) the date it is required to
 terminate pursuant to applicable law or (z) the thirtieth (30th) day after the Managing Member ceases to
 be the managing member of World Class CMBS I and ceases to have any rights or obligations under the
 World Class CMBS I Agreement.

          Section 6.02. Withdrawal of Member. In the event that any Member shall withdraw, die, be
 declared incompetent or insane, or be adjudicated a bankrupt, or in the event of the winding up or
 liquidation of a Member, such event shall not cause the dissolution of the Company, and the Company
 shall continue until dissolved pursuant to Section 6.01.

          Section 6.03. Liquidation. Upon dissolution of the Company, the Company shall be liquidated
 in an orderly manner. The Managing Member shall act as the liquidator to wind up the business and
 affairs of the Company pursuant to this Agreement.

          Section 6.04. Distribution Upon Liquidation. On liquidation of the Company, the Managing
 Member shall make distributions out of the properties and assets of the Company in the following order
 of priority:

                (a)       To the payment and discharge of the claims of all creditors of the Company who
 are not Members;

                (b)      To the establishment of such reserves as the Managing Member may deem
 reasonably necessary or advisable in light of all the facts in order to provide for contingent liabilities of
 the Company to all persons who are not Members; and

                  (c)     The balance, if any, to the Members in accordance with Section 3.02.

                                         Article VII. Miscellaneous

         Section 7.01. Admission of Members. New Members may be admitted to the Company only
 with the consent of the Managing Member, which consent may be withheld for any reason in the
 Managing Member's sole discretion.

          Section 7.02. General. This Agreement: (a) shall be binding on the legal successors of the
 Members permitted by this Agreement; (b) shall be governed by and construed in accordance with the
 laws of the State of Delaware, excluding its conflicts of laws provisions; (c) may be executed in more
 than one counterpart which together shall constitute the same agreement; and (d.) contains the entire
 agreement among the Members relating to the subject matter hereof. The waiver of any of the provisions,
 terms or conditions contained in this Agreement shall not be considered as a waiver of any of the other
 provisions, terms or conditions hereof. For all purposes hereof, "business days" shall mean days other
 than Saturdays, Sundays or days on which commercial banks are closed in New York, New York.

          Section 7 .03. Notices. Any notice to be given hereunder (except for under Appendix "B",
 which will have its own Notice provisions) to any Member shall be deemed to have been given and
 received (i) when delivered in person to such Member, at the time of delivery, (ii) when mailed by
 registered or certified mail, within three business days of mailing and (iii) when sent by email, on the date
 of sending or the next business day after sending if the email is sent after 5:00 p.m. New York time, in

                                                       5
 ACTIVE/80750130.1
 4826-5796-9954


                                                        12
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 13 of 49 Page ID #:62




  each case addressed to such Member at its address or email address set forth in Appendix A, or to such
  other address or email address as has been indicated to the Managing Member and circulated to all
  Members.

          Section 7.04. Execution of Documents; Books and Records. The Members agree to execute
  such instruments, documents and papers as the Managing Member deems necessary or appropri~te to
  carry out the provisions of this Agreement, and to take such other action as the Managing Member deems
  appropriate to maintain the Company's status as a limited liability company under the laws of the State of
  Delaware.

          Section 7.05. Intentionally Omitted.

          Section 7 .07. Amendments. The terms and provisions of this Agreement may be modified,
  amended or waived at any time and from time to time by the Managing Member in its sole discretion
  (including without limitation in connection with the admission of any new Members.

           Section 7.08. Headings. Descriptive headings are for convenience of reference only, are not
  part of this Agreement, and shall not be considered in inteipreting this Agreement.

          Section 7.09. Gender and Number. ForpUiposes of this Agreement the masculine gender shall
  be deemed to denote the feminine and the neuter, the singular to denote the plural and the plural to denote
  the singular, where the context so pennits.

                                 [Remainder of page intentionally left blank]




                                                      6
  ACTIVE/80750130.1
  4826.5796-9954


                                                      13
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 14 of 49 Page ID #:63




          IN WITNESS WHEREOF, the Managing Member and the Class B Member have entered into
  this Agreement as of the date first set forth above.



                                                 MANAGING MEMBER:


                                                 WORLD CLASS HOLDINGS, LLC
                                                 a Delaware limited liability mpany


                                                           By: _ _ . , ~ ~ ~ - - - -
                                                           Name:
                                                           Title: Pr




  CLASS B MEMBER:

  HAR-CMBS I, LLC,
  a Delaware limited liability co   any

  By:    HAR-Managing Enti , LC
         a California limited 1a ility company
  Its:   Manager

         By:
                 H rvey    . Bookstein as Trustee of the
                 Harve and Harriet Bookstein Living
                 Trust d/t 8/ I I /99 for the benefit of
                 Harvey A. Bookstein

         Its:    Managing Member




                                                   14
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 15 of 49 Page ID #:64




                                          APPENDIXA


                                     CLASS A MEMBERS

   NAME OF MEMBER                   ADDRESS                  INITIAL CAPITAL    SHARE OF
                                                              CONTRIBUTION     PROFITS AND
                                                                                 LOSSES
 Managing Member:

 World Class Holdings,   401 Congress Avenue, 33rn Floor          $100           100.00'/o
 LLC                     Austin, Texas 78701
                          Email: npaul@wccapitalgroup.com




                                     Iconti.nued on next page]




                                                15
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 16 of 49 Page ID #:65




                                     APPENDIX "A" (cont'd)

                                       CLASS B MEMBER

      NAME OF                       ADDRESS                   INITIAL CAPITAL    SHARE OF
      :MEI\.113ER                                             CONrRIBUTION        PROFITS
                                                                                AND LOSSES
  HAR-CI\.113S I, LLC           c/o Armanino, LLP              $30,000,000.00   Per Appendix
                           Attention: Harvey Bookstein                              "B"
                        11766 Wilshire Boulevard, 9th Floor
                              Los Angeles, CA 90025
                          Lisa.Romln)_A nn~ninoLLP.com




                                                 16
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 17 of 49 Page ID #:66




                                              APPENDIX "B"

                          Term and Conditions Applicable For aass B Member

 All the Members hereby agree that, until such time as (i) the Class B Member's initial capital contribution
 set forth on Appendix "A" ("Class B Invested Capital") is repaid to Class B Member by the Company
 in full, and (ii) all of the Additional Class B Payments (as defined in Section 2, below), if any, are paid in
 full by the Company to the Class B Member, the following terms shall apply; provided, however, upon
 the full repayment of such Class B Invested Capital, Class B Preferred Return (subject to the Minimum
 Preferred Return Payment (as defined below)) and all Additional Class B Payments (if any, as defined
 below), the terms of this Appendix "B," other than Section 3 and Section 10, shall automatically become
 null, void and of no further force or effect:

         I.       Distributions/Payments.

                  a.       Distributions to Class B Members. Notwithstanding anything to the contrary in
 the Agreement including, without limitation, Article m thereof, and the Act: (i) the Company shall pay
 the then total unpaid and outstanding Class B Invested Capital to the Class B Member in full by no later
 than December 7, 2018 (the "Class B Invested Capital Repayment Date,,); provided, however, such
 Class B Invested Capital Repayment Date can be ex.tended for up to two periods of six (6) months each
 by the Company upon satisfaction of the following conditions precedent: {A) delivery of a written notice
 by the Company to the Class B Member no later than thirty (30) days prior to the then current Class B
 Invested Capital Repayment Date providing that the Company has elected to ex.tend the Class B Invested
 Capital Repayment Date; and (B) payment by the Company to the Class B Member, on or before the date
 occurring thirty (30) days prior to the then current Class B Invested Capital Repayment Date, of an
 amount equal to the product of the then outstanding Class B Invested Capital multiplied by nine percent
 (9%) (the "Class B Invested Capital Extension Payment"); and (ii) the Company shall have the right, at
 any time, to repay all or a portion of the Class B Invested Capital, provided that the amount of the
 required Class B Invested Capital Extension Payment shall be recalculated on such repayment date and
 the excess amount previously paid as a Class B Invested Capital Ex.tension Payment and applicable for
 the period between the repayment date and the then current Class B Invested Capital Repayment Date
 shall be credited on the repayment date against the Class B Invested Capital then due and owing; (iii) the
 Class B Member will be entitled to an amount equal to one and one-half percent (1.5%) per month of the
 Class B Invested Capital (the "Class B Preferred Return") from the date the Class B Invested Capital is
 funded, which the Company will pay through monthly distributions, by check or wire transfer delivered to
 the Class B Member on or before the 20th of each month (or the next business day if the 20th falls on a
 Saturday, Sunday, or national holiday); provided, however, the first month's distribution will be prorated
 from the date the Class B Invested Capital is funded to the 20th of the next month based on a 30 day
 month, 360-day year (for the avoidance of doubt, if the Class B Invested Capital is $30,000,000.00, the
 monthly distribution of the Class B Preferred Return will be $450,000.00). The Company shall have the
 right, at any time, to repay the entire, or a portion of the, then outstanding Class B Invested Capital prior
 to the Class B Repayment Date (as it may be extended) and in such event (a) the Class B Preferred Return
 through the date of payment shall be prorated from the date of the prior payment of the Class B Preferred
 Return to the date of prepayment in full of the outstanding Class B Invested Capital, based on a 30-day
 month, and shall be due concurrently with the prepayment in full of the Class B Invested Capital;
 provided, however, that if the Class B Invested Capital is prepaid within three months of the Effective
 Date, the Company shall be required to make a payment to the Class B Member at least equal to three
 months' of Class B Preferred Return, less the Class B Preferred Return paid prior to such date and less
 any balance in the Class B Member Reserve as defined below (the "Minimum Preferred Return
 Payment''). In consideration for the Class B Member's Class B Invested Capital, in addition to paying

 ACTIVE/80750130.4
 4826-S796-99S4


                                                       17
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 18 of 49 Page ID #:67




  up-front all costs and expenses associated with preparation and documentation of the investment by the
  Class B Member of the Class B Invested Capital (including without limitation reasonable attorney's fees),
  the Members have agreed the Class B Member will be entitled to withhold from the Class B Member's
  disbursement of the Class B Member's Class B Invested Capital to the Company: (A) $1,350,000 from
  the Class B Member's Class B Invested Capital (the "Class B Member Reserve"), plus (B) an additional
  amount of $7,500 as the Class B Member's administrative fee; provided, however, that in no event shall
  such retained amounts factor into the calculation of the outstanding Class B Invested Capital or the Class
  B Preferred Retmn under this Appendix "B". At the time the Company tenders payment in full of the
  Class B Invested Capital (plus the Minimum Preferred Return Payment, if applicable), so long as no
  Company Default exists and is continuing, the Company will be entitled to a credit in the amount of the
  Class B Member Reserve and, (b) if applicable, the then most recent Class B Invested Capital Extension
  Payment shall be pro-rated on a 360-day basis and the amount applicable for the period between the
  repayment date and the then current Class B Invested Capital Repayment Date shall be credited on the
  repayment date against the then outstanding Class B Invested Capital then due and owing to the Class B
  Member.

                 b.      Distributions to Class A Members. Notwithstanding anything to the contrary in
  the Agreement including, without limitation, Article m thereof, and the Act, there will be no distributions
  made by the Company to the Class A Members; provided, however, so long as no Company Default (as
  defined in Section 2 of this Appendix ''B", below) exists and is continuing, the foregoing shall not
  preclude payment or setting aside reserves for expenses of the Company in the ordinary course of
  business.

                   c.       Obligation to Make Additional Capital Contribution. Notwithstanding anything
  to the contrary in the Agreement, and the Act, Class B Member shall have no obligation to make any
  additional capital contributions to the Company and the failure of Class B Member to make any such
  additional capital contribution shall not affect Class B Member's rights and interest in the Company.

                   d.      Capital and Income Accounts. Notwithstanding anything to the contrary in the
  Agreement, the terms of Article m of the Agreement shall not apply to the Class B Member. The
  Company shall be obligated to make all distributions to Class B Member in accordance with the terms of
  this Appendix "B" and the Company shall establish a separate capital and income account for Class B
  Member reflecting the Class B Invested Capital and any distributions made hereunder, provided,
  however, the income attributable to the Class B Member will be the same as the amount of the cash
  distributed to the Class B Member pursuant to Section l{a) of this Appendix "B", above. Further, Class
  B Member shall not be entitled to share in any profits or losses of the Company (except as may be paid to
  Class B Member as a payment under Section 1(a) of this Appendix "B", above).

          2.      Class B Members' Rights and Remedies Following Default. Class B Member shall
  have the rights set forth in subsections (a) and (b), below upon a Company Default (as defined below).
  As used herein, a "Company Default'' shall be defined as: (i) any failure of the Company and/or the
  Managing Member to make any of the required distributions/payments to the Class B Member as set forth
  in Section l(a) of this Appendix "B", which distributions/payments are not paid within :five (5) days
  following the delivery by Class B Member to the Company of a written notice specifying such failure;
  and/or (ii) any breach by the Company and/or the Managing Member of any of the nonmonetary
  covenants and conditions set forth in this Appendix "B", which breach is not cured within thirty (30)
  days following the delivery by Class B Member to the Company of a written notice specifying such
  breach; provided, however, that if such nonmonetary breach cannot be remedied by the payment of a sum
  of money and not capable of being remedied within thirty (30) days, then the Company and the Managing
  Member shall have an additional period of time within which to remedy such failure provided that the

  ACTIVE/80750130.4
  4826-5796-9954


                                                     18
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 19 of 49 Page ID #:68




  Company and/or the Managing Member commences their cure within such thirty (30) day period and
  diligently pursues such cure to completion. In addition to any amounts that may be owed to Class B
  Member hereunder, upon a Company Default, Class B Member shall also be entitled to receive from the
  Company (A) interest on any such past due distributions/payments at the rate of twenty-three percent
  (23%) per annum compounded monthly, and (B) any and all actual, reasonable, out-of-pocket expenses,
  costs and fees (including, without limitation, reasonable attorneys' fees and costs) arising from the failure
  of the Company to pay to Class B Member any amounts due hereunder, as well as arising from Class B
  Member's enforcement of its rights and privileges under this Agreement including, without limitation,
  this Appendix "B" (collectively, the "Additional Class B Payments"). Following a Company Default,
  the Company shall be required to repay in full the Class B Invested Capital, plus the Class B Preferred
  Return earned to such date (subject to the Minimum Preferred Return Payment), plus all Additional Class
  B Payments (if any) to the Class B Member immediately upon demand.

                   a.      Pursue Rights Under Guaranty. Following a Company Default Class B Member
  may proceed against the Guarantor (as defined below) under the terms of that certain Guaranty dated as of
  the date hereof, by Natin Paul, an individual, and Natin Paul, Trustee of the Natin Paul Management Trust
  Dated February 29, 2012 (hereinafter collectively called "Guarantor"), for the benefit of Class B
  Member ("Guaranty''), and, following such election and the repayment of all amounts due and payable
  to Class B Member under this Agreement including, without limitation, the then outstanding Class B
  Invested Capital, plus the Class B Preferred Return earned to such date (subject to the Minimum Preferred
  Return Payment), plus all Additional Class B Payments (if any), the terms of Section 3 of this Appendix
  ''B" shall apply as if the Company had repaid Class B Member the then outstanding Class B Invested
  Capital, plus the Class B Preferred Return earned to such date (subject to the Minimum Preferred Return
  Payment), plus all Additional Class B Payments (if any).

                   b.      Sell the Property and Pursue Rights under the Guaranty, if any. Following a
  Company Default, Class B Member shall also have the right to elect (in its sole discretion), pursuant to a
  written notice to the Company, to: (i) require the Company, as Managing Member of World Class C:MBS
  I, to have the Property sold in accordance with the requirements set forth below; (ii) have the Company as
  Managing Member of World Class C:MBS I to use the Net Sale Proceeds (as defined below) to repay
  Class B Member all amounts due and payabl_e to Class B Member under this Agreement including,
  without limitation, the then outstanding Class B Invested Capital, plus the Class B Preferred Return
  earned to such date (subject to the Minimum Preferred Return Payment), plus all Additional Class B
  Payments (if any); and (iii) if, and only if, the Net Sale Proceeds are insufficient to entirely pay off all
  amounts due and payable to Class B Member under this Agreement including, without limitation, the then
  outstanding Class B Invested Capital, plus the Class B Preferred Return earned to such date (subject to
  the Minimum Preferred Return Payment), plus all Additional Class B Payments (if any), Class B
  Member shall be entitled, following the payment of such Net Sale Proceeds to Class B Member, to pursue
  the Guarantor under the Guaranty for any difference between (A) all amounts due and payable to Class B
  Member under this Agreement including, without limitation, the then outstanding Class B Invested
  Capital, plus the Class B Preferred Return earned to such date (subject to the Minimum Preferred Return
  Payment), plus all Additional Class B Payments (if any), and (B) the amount of Net Sales Proceeds;
  provided, however, Class B Member's rights to proceed under this subsection (b) shall only survive until
  Class B Member receives all amounts due and payable to Class B Member under this Agreement
  including, without limitation, the then outstanding Class B Invested Capital, plus the Class B Preferred
  Return earned to such date (subject to the Minimum Preferred Return Payment), plus all Additional Class
  B Payments (if any) and, following the payment of such amounts pursuant to the Guaranty or otherwise,
  the Company shall no longer be required to sell the Property even if Class B Member has previously
  invoked such right under this subsection (b) and the terms of Section 3 shall apply as if the Company had
  repaid Class B Member the then outstanding Class B Invested Capital, plus the Class B Preferred Return

  ACTIVE/80750130.4
  4826-5796-9954


                                                       19
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 20 of 49 Page ID #:69




  earned to such date (subject to the Minimum Preferred Return Payment), plus all Additional Class B
  Payments (if any); provided, further, if, and only if, the Net Sale Proceeds are equal to or greater than all
  amounts due and payable to Class B Member under this Agreement including, without limitation, the then
  outstanding Class B Invested Capital, plus the Class B Preferred Return earned to such date (subject to
  the Minimum Preferred Return Payment), plus all Additional Class B Payments (if any), then (I) the
  Company shall be entitled to keep any Net Sale Proceeds in excess of the then outstanding Class B
  Invested Capital plus all Additional Class B Payments (if any), and (II) upon payment to Class B Member
  of all amounts due and payable to Class B Member under this Agreement including, without limitation,
  the then outstanding Class B Invested Capital, plus the Class B Preferred Return earned to such date
  (subject to the Minimum Preferred Return Payment), plus all Additional Class B Payments (if any), the
  terms of the Guaranty will automatically become null, void and of no further force or effect and the terms
  of Section 3, below, shall apply. As used herein, the term "Net Sales Proceedsn shall mean the sum of
  (x) the gross sales price received for the Property, minus (y) the amount paid to the holders of all
  encumbrances and liens on the Property including, without limitation, the then holder of the first-lien
  security interest in the Property, minus (z) all costs and expenses incurred by the Company in completing
  the sale of the Property including, without limitation, escrow fees and charges, title charges and fees
  (including, without limitation, the cost of title insurance and endorsements), recording fees, transfer taxes,
  brokerage commissions and legal fees and costs. In connection with the sale of the Property (as provided
  above), the following terms and conditions shall apply: (1) Class B Member shall engage a reputable
  investment broker or brokers working for a regionally recognized investment brokerage firm, which
  investment broker(s) shall have a minimum of ten (10) years of experience in the marketing and sale of
  real estate securities; (2) the sale of the Property shall be marketed by such broker(s) on a wide scale; (3)
  Class A Members shall reasonably cooperate with all marketing and sales efforts and shall be consulted in
  connection with any proposed negotiations for the sale of the Property; (4) Class B Member shall use and
  shall cause the brokers engaged to use commercially reasonable efforts to maximize the purchase price to
  be received for the Property; (5) such sale of the Property shall be completed in an arm's length
  transaction on customary terms as more particularly set forth in purchase documentation prepared by the
  Company's counsel; (6) the purchaser shall not be an affiliate of Class B Member; (7) such sale shall be
  completed on an "as-is", 'where is" basis; and (8) such sale shall be completed as soon as reasonably
  possible subject to customary due diligence and escrow periods.

           3.      Rights Following Re-Payment of Class B Invested Capital plus the Class B
  Preferred Return earned to such date {subject to the Minimum Preferred Return Payment), plus all
  Additional Oass B Payments (if any). Notwithstanding anything to the contrary in the Agreement and
  the Act, Class B Member hereby acknowledges and agrees that, effective as of the date on which it has
  received the repayment in full of the Class B Invested Capital, plus the Class B Preferred Return earned to
  such date (subject to the Minimum Preferred Return Payment), plus all Additional Class B Payments (if
  any) and any related Class B Invested Capital Extension Payments then outstanding (as the case may be)
  (hereinafter, such date shall be referred to as the ''Withdrawal Effective Date''): (a) such Class B
  Member shall be deemed to have irrevocably withdrawn from the Company (without any further notice or
  demand to, or acknowledgment by, such Class B Member); (b) Class B Member's entire ownership
  interest in the Company, which collectively includes the right to receive any further distributions or
  payments, any right to vote or participate in the management of the Company, and any right to
  information concerning the business and affairs of the Company, as provided in the Agreement
  (including, without limitation, this Appendix "B") and under the Act shall immediately and
  automatically terminate as of the Withdrawal Effective Date; (c) such Class B Member shall have no
  further right to receive any future distributions from the Company, any future allocations of profits or
  losses, or any other funds or assets of the Company, nor shall such Class B Member be entitled to any
  other rights, powers or privileges granted to such Class B Member under this Agreement or the Act
  (unless the Act expressly provides that such right, power or privilege shall survive the Class B Member's

  ACTIVE/80750130.4
 4826-5796-9954


                                                       20
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 21 of 49 Page ID #:70




 withdrawal from the Company); and (d) the existence of the Company shall continue without the need for
 a vote of the remaining Members. Upon the Managing Member's request, any Class B Member who has
 received payment in full of the Class B Invested Capital, plus the Class B Preferred Return earned to such
 date (subject to the Minimum Preferred Return Payment), plus all Additional Class B Payments (if any)
 shall execute an acknowledgment of withdrawal; provided, however, such Class B Member's execution
 of the acknowledgment of withdrawal (or any other written instrument) shall not be required or necessary
 to effectuate the withdrawal of such Class B Member pursuant to this Section, which shall be
 automatically effectuated upon the Withdrawal Effective Date. For the avoidance of doubt, following the
 Withdrawal Effective Date, the tenns and provisions of the Agreement may be modified, amended or
 waived at any time and from time to time by the Manager in its sole discretion.

          4.       Class B Member's Consent.

                 a.     Actions Requiring Class B Member's Consent. Notwithstanding anything to the
 contrary in the Agreement and the Act, the Class B Member's prior written consent shall be required
 (which consent or approval shall not be unreasonably withheld by the Class B Member) for the Company
 and/or the Managing Member to do any of the following:

                            i.      Sales. (A) sell the Company, (B) sell the Company's membership rights
 in World Class CMBS I, LLC, and/or (C) cause the sale by World Class CMBS I, LLC of the Property,
 unless the Net Proceeds from any such sale will satisfy or exceed all the required distributions to the Class
 B Member set forth in this Agreement including, without limitation, all of the then outstanding Class B
 Invested Capital, plus the Class B Preferred Return earned to such date (subject to the Minimum Preferred
 Return Payment), plus all Additional Class B Payments (if any). In connection with the foregoing, the
 Company shall provide the Class B Member with at least ten (10) days advance written notice of any such
 proposed sale, which notice shall specify the amount of Net Proceeds anticipated from any such sale and,
 prior to such sale, all other consents from the Class B Member, if any, required hereunder shall have been
 received. This section shall not apply to any sale of the Property made pursuant to Section 2(b), above.

                          ii.     Financings or Refinancings. Borrow any new funds which are or will be
 secured by the Property, unless such the proceeds of such funds shall be used to repay in full the Class B
 Invested Capital, Class B Preferred Return (if any) and all Additional Class B Payments (if any).

                          111.      Transfer of Class A Membership Interests. Permit the transfer of Class
 A Member interests in the Company except to an Affiliate of the Member. As used herein, "Affiliate"
 means (A) any Person directly or indirectly controlling, controlled by or under common control with the
 person specified, (B) any Person owning or controlling ten percent (10%) of more of the outstanding
 voting securities or beneficial interests of the Person specified, (C) any officer, director, partner, trustee or
 member of the immediate family of the Person specified, (D) if the Person specified is an officer, director,
 general partner or trustee, then any corporation, partnership or trust for which that Person acts in that
 capacity, or (E) any Person who is an officer, director, general partner, trustee or holder of ten percent
 (10%) or more of the outstanding voting securities or beneficial interests of any Person described in
 clauses (A) through (E). The term "control" (including the term "controlled by'' and "under common
 control with'') means the possession, direct or indirect, of the power to direct or cause the direction of the
 management and policies of a Person, whether through the ownership of voting securities, by contract or
 otherwise.

                           iv.      Admission of New Class A Members.               Admit any new Class A
 Members.


 ACTIVE/80750130.4
  4826-5796-9954


                                                         21
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 22 of 49 Page ID #:71




                          v.      Actions by Managing Member. Cause World Class CMBS I, LLC to
 acquire any new assets and/or interests in any other companies or entities.

                          vi.   Withdrawa l of World Class Holdings, LLC. Permit World Class Real
 Holdings, LLC to resign or withdraw as Managing Member of the Company except in cases of death
                                                                                                or
 disability ofNatin Paul.

                          vii.    Amendments. Amend, supplement or modify this Agreemen t and/or the
 Articles of Organization; provided, however, the prior written consent of all of the Class A Members
                                                                                                      will
 also be required for any such amendments.

                        Vlll.     Amendme nts to World Class CMBS       1 LLC.   Cause World Class CMBS
 I, LLC to amend, supplemen t or modify the World Class CMBS I, LLC Operating Agreemen t and/or the
 Articles of Organization; provided, however, the prior written consent of all of the Class A Members
                                                                                                      and
 the Members of World Class CIMBS I, LLC will also be required for such amendments.

                        ix.      Appointm ent of Accountant. Appoint, or cause the appointme nt of, any
 accountant for the Company or for World Class C:tY.IBS I other than Annanino , LLP.

                  b.      Consent of Class B Member. Whenever the consent or the approval of the Class
 B Member is required hereunder, then, except as expressly set forth herein, the following shall apply: (i)
 such consent or approval shall be given or reasonably withheld within ten ( 10) business days after Class
                                                                                                           B
 Member has received a written request for its consent or approval (along with any supporting materials,
 notices or documents); and (ii) Class B Member shall be deemed to have consented or approved
                                                                                                          (as
 requested) if Class B Member fails to reasonably withhold its consent within such ten (10) business
                                                                                                         day
 period.

         5.       Managing Member.

                  a.      Removal for Cause. Notwithstanding anything to the contrary in the Agreemen t
 and the Act, the Class B Member may remove the Managing Member for cause, which removal shall
                                                                                                         be
 effected by the vote of the Class B Member at a meeting called expressly for that purpose (as permitted
                                                                                                         in
 Section 6, below). For purposes of this Section, "for cause" shall mean fraudulent or dishonest acts
                                                                                                         or
 gross abuse of authority or discretion.

                 b.      Removal Following a Company Default. Notwithsta nding anything to the
 contrary in the Agreemen t and the Act, upon a Company Default, the Class B Member may remove
                                                                                                the
 Managing Member and terminate Managing Member and any of its Affiliates as agent for the Company,
 and may appoint itself as Managing Member, upon a written notice delivered by the Class B Member
                                                                                                  to
 Managing Member and all of the Class A Members.

                 c.     Re.ports and Budgets.     Notwithstanding anything to the contrary in the
 Agreement and the Act, the Company agrees to provide to Class B Member, promptly following
                                                                                                     their
 completion: (i) copies of the Company' s monthly, quarterly and annual :financial statements in the
                                                                                                     form
 customarily prepared by the Company; and (ii) copies of the Company' s annual and shorter term budgets
 for the Company, Property and/or World Class CMBS I, LLC, if any.

          6.     Meetings. Notwithstanding anything to the contrary contained in the Agreemen t and the
 Act, Class B Member shall have the right to call a meeting of the Members and such meeting shall
                                                                                                     be
 held in accordance with the terms of such section.

 ACTIVE/ 80750130 .4
 4826-5796-9954


                                                      22
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 23 of 49 Page ID #:72




         7.        Intentionally Omitted.

         8.      Voting. Notwithstanding anything to the contrary in the Agreement and the Act, the vote
 of a majority in interest of the Members shall mean and require the vote of (i) the majority in interest of
 the Class A Members, and (ii) the Class B Member.

         9.        Intentionally Omitted.

           I 0.    Indemnification. Notwithstanding anything to the contrary in the Agreement and the
 Act, the Company shall only be required to indemnify the Class B Member against claims, demands,
 liabilities, causes of actions, losses, costs or expenses (collectively "Claims") brought against or incurred
 by the Class B Member as a Member of the Company and only where such Claims are not the result of
 the Class B Member's gross negligence or willful misconduct. For the avoidance of doubt, the Company
 shall not be required to indemnify, protect, defend or hold Class B Member harmless against any Claims
 brought against or incurred by Class B Member in any capacity other than as a Member. Nothing in this
 Section 10 shall alter the rights of the Class B Member to pursue any rights under the Guaranty.

         11.      Notices. Any notice required or permitted to be given under the terms of this Appendix
 "B" shall be in writing and either shall be mailed by certified mail, postage prepaid, return receipt
 requested, or sent by overnight air courier service, or personally delivered to a representative of the
 receiving party. All such communications shall be mailed, sent or delivered, addressed to the party for
 whom it is intended at its address set forth below.

 If to the Company
 or to the Managing Member:       NatinPaul
                                  c/o World Class Holdings, LLC
                                  401 Congress Avenue, 33 rd Floor
                                  Austin, TX 78701

 With copy to:                    World Class Capital Group LLC
                                  540 Madison Avenue, 29th Floor
                                  New York, NY 10022
                                  Attn: Sheena Paul

 If to Class B Member:            HAR-C:tv.113S I, LLC
                                  c/o Armanino, LLP
                                  11766 Wilshire Boulevard, 9th Floor
                                  Los Angeles, CA 90025
                                  Attention: Harvey Bookstein

 with a copy to:                  Law Office of Martin N. Burton
                                  2026 Hilldale Drive
                                  La Canada, CA 91011
                                  Attention: Martin N. Burton, Esq.

 Any communication so addressed and mailed shall be deemed to be given on the earliest of (a) when
 actually delivered, (b) on the first business day after deposit with a reputable overnight air courier service
 (Federal Express and UPS are each agreed to be a reputable overnight air courier service), or (c) on the
 third business day after deposit in the United States mail, postage prepaid, in each case to the address of

 ACTIVE/80750130.4
 4826-5796-9954


                                                       23
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 24 of 49 Page ID #:73




  the intended addressee, and any communication so delivered in person shall be deemed to be given when
  receipted for by, or actually received by Investor or Guarantor, as the case may be. Any party may
  designate a change of address by written notice to the other by giving at least seven (7) days prior written
  notice of such change of address.




  ACTIVE/80750130.4
  4826-5796-9954


                                                      24
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 25 of 49 Page ID #:74




                              EXHIR IT2



                                      25
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 26 of 49 Page ID #:75




                                            GUARANTY
   $30,000,000                                                                December 7, 2016


          The undersigned, Natin Paul, an individual, and Natin Paul, Trustee of the Natin Paul
   Management Trust Dated February 29, 2012 (individually and collectively, "Guarantorj, are
   executing this Guaranty of Capital Contribution ("Guaranty'') to induce HAR-Clv.IBS I, LLC, a
   Delaware limited liability company ("Investor"), to make a Capital Contn'bution in the amount
   of $30,000,000 (the "Capital Contribution") to World Class CMBS I MM, LLC (the "World
   Class CMBS I Managing Member"), pursuant to the terms of that certain Limited Liability
   Company Agreement for World Class CMBS I ~ LLC (the "Operating Agreement'').

                                             RECITALS
           A.      Pursuant to the terms of the Operating Agreement, including without limitation
   Appendix "B" thereof: the World Class CMBS I Managing Member bas agreed to repay the
   Capital Contn"bution of Investor on a preferred basis, plus a preferred return (the ''Preferred
   Return") through monthly distributions, plus any and all other amounts payable to the Investor
   under the terms of the Operating Agreement, including without limitation Appendix ''B" thereof
   (collectively, the "World Class CMBS I Managing Member Payment Obligations").

           B.     As a condition to Investor making the Capital Contn"bution, Guarantor is required
   to execute and deliver to Investor this Guaranty. All capitalized terms used but not defined
   herein shall have the same meaning ascribed to such terms under the Operating Agreement.

   1. Guaranty. Guarantor unconditionally, jointly and severally, guarantees to Investor
                                                                                              the full
  repayment to Investor of the Capital Contn"butio~ the full payment of the Preferred Return
  including without limitation payment of any and all monthly distn"butions, and the full
  performance of all of the World Class CMBS I Managing Member Payment Obligations
  pursuant to the Operating Agreement and under all modifications, renewals and extensions of the
  Operating Agreement, whether the indebtedness and obligations described therein be voluntary
  or involuntary and however arising, whether due or not due, absolute or contingent, liquidated or
  unliquidated, determined or undetermined, and whether the World Class CMBS I
                                                                                            Managing
  Member may be liable individually or jointly with others or whether recovery upon such
  indebtedness or obligations may be or hereafter become barred by any statute of limitations, or
  whether such indebtedness may be or hereafter become otherwise unenforceable. -All such
  indebtedness and obligations are referred to in this Guaranty as the "Indebtedness," and will be
  payable by each Guarantor to Investor immediately on demand (collectively, the "Guaranteed
  Obligations") in the event of any default of the World Class C:MBS I Managing Member
  (beyond all applicable notice and/or cure periods) with respect to the Indebtedness or any part
  thereof: and in any event failure to repay the Capital Contribution within two (2) years of the
  date the Capital Contnbution is funded or for any extended time period as provided
                                                                                            for in the
  Operatin g Agreement. Without limiting the foregoing, full payment of the Indebted
                                                                                          ness of the
  World Class CMBS I Managing Member to Investor shall, whether or not then otherwise due or
  payable in full by the World Class C:MBS I Managing Member, be due and owing in full by the
  Guarantor to Investor upon (a) the death or dissolution (as applicable), liquidation, insolvency or




                                                   26
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 27 of 49 Page ID #:76




   business failure o( or any assignment for the benefit of creditors by, or commencement of any
   bankruptcy, reorganization, receivership, moratorium or other debtor relief proceedings by or
   against the World Class C~S I Managing Member or Guarantor; or (b) the appointment of a
   receiver for, or the attachment, sequestration, restraint of or making or levying of any order of
   court or legal process affecting any real or personal property of the World Class CAmS I
   Managing Member or any Guarantor, and in any such event Guarantor unconditionally promises
   to pay such Indebtedness to Investor or order, on demand, in lawful money of the United States.
   Notwithstanding the foregoing or anything to the contrary herein, the full payment of the
   Indebtedness of the World Class CMBS I Managing Member to Investor shall not be due and
   owing in full by the Guarantor following the death of Guarantor provided that, within six (6)
   months of the death of Guarantor, the estate or surviving trust of Guarantor provides Investor
   with one or more substitute guarantors whose financial condition in the aggregate is reasonably
   satisfactmy to Investor and which substitute guarantors are willing to execute a guaranty of the
   Guaranteed Obligations substantially in the form hereof.

   2.      Rights of Investor. Guarantor authorizes Investor at any time in its discretion to modify,
   amend, supplement, renew, extend, accelerate or otherwise alter any of the terms of the
   Indebtedness, to take and hold any security for the Indebtedness or this Guaranty, and to accept
   additional or substituted security, to subordinate, compromise, waive or release any security, to
   apply such security and direct the order or manner of sale thereof: to release the World Class
   CMBS I Managing Member of its liability for all or any part of the Indebtedness, to release,
   substitute or add any one or more guarantors or endorsers, and to assign this Guaranty in whole
   or in part. Investor may take any of the foregoing actions upon any terms and conditions as
   Investor may elect, without giving notice to Guarantor or obtaining the consent of Guarantor and
   without affecting the liability of Guarantor to Investor.

   3.      Independent Obligations. Guarantor's obligations under this Guaranty are independent
   of those of the World Class CMBS I Managing Member. Investor may bring a separate action
   against any Guarantor without first proceeding against the World Class CMBS I Managing
   Member or any other person or any security held by Investor and without pursuing any other
   remedy. Investor's rights under this Guaranty will not be exhausted by any action by Investor
   until all of the Indebtedness and all other obligations of the World Class CIYIBS I Managing
   Member under the Operating Agreement (the "Other Obligations") have been fully paid and/or
   performed.

   4.      Waivers of Defenses. Guarantor waives any defense to the enforcement of this Guaranty
   arising by reason of:

           (a)     any present or future federal, state or local laws, rules, regulations, ordinances or
   codes, including without limitation, those of California (collectively, 11Laws11) , or orders
   affecting the terms of: or Investor's remedies with respect to, any of the Guaranteed Obligations,
   Other Obligations or security;

         (b)    the absence or cessation of personal liability of World Class C:MBS I Managing
   Member or any affiliate of World Class C:MBS I Managing Member with respect to any of the
   Guaranteed Obligations or Other Obligations;




                                                    27
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 28 of 49 Page ID #:77




          (c)     the failure of any other person or entity to execute this Guaranty or any other
   guaranty or agreement;

          (d)    the failure of World Class CMBS I Managing Member or any affiliate of World
   Class CMBS I Managing Member to properly execute the Operating Agreement or otherwise
   comply with applicable legal formalities;
           (e)    the unenforceability or invalidity of any of the Guaranteed Obligations or Other
   Obligations, or the lack of perfection or failure of priority or any other loss or impairment of any
   security;
          (f)     any discharge or release of World Class C~S I Managing Member or any
   affiliate of World Class CMBS I Managing Member of any of the Guaranteed Obligations and
   Other Obligations or any impairment or suspension of any remedies of Investor, whether
   resulting from any act or omission of Investor or any other person or entity or by operation of
   law or otherwise;
           (g)  any bankruptcy, insolvency or reorganization of World Class CMBS I Managing
   Member or any affiliate of World Class CMBS I Managing Member or any disability or other
   defense of World Class CMBS I Managing Member or any affiliate of World Class CMBS I
   Managing Member with respect to any of the Guaranteed Obligations, Other Obligations or.
   security;

           (h)     any failure of Investor to disclose to the Guarantor any infonnation relating to the
   financial condition, operations, properties or prospects of World Class CMBS I Managing
   Member or any affiliate of World Class C:MBS I Managing Member now or in the future known
   to Investor (the Guamntorwaiving any duty on the part of Investor to disclose such information);

          (i)     any failure of Investor to monitor proper application of Capital Contribution funds
   or compliance with the Operating Agreement, or to preserve, insure or protect any security or
   any subrogation, contnl>ution or reimbursement rights of the Guarantor;

           G)     any lawful application of proceeds or payments received by Investor to
   obligations other than the Guaranteed Obligations; or

          (k)     any other lawful action by Investor, whether authorized by this Guaranty or
   otherwise, or any omission by Investor or other failure· of Investor to pursue, or any delay in
   pursuing, any other remedy in Investor's power.

           Guarantor further waives: (i) any defense to the recovery by Investor against Guarantor
   of any deficiency or otherwise to the enforcement of this Guaranty based upon Investor's election
   of any remedy against Guarantor or World Class CMBS I Managing Member or any affiliate of
   World Class CMBS I Managing Member, including the defense to enforcement of this Guaranty
   (the so-called "Gradsky" defense) which, absent this waiver, Guarantor would have by virtue of
   an election by Investor to conduct a non-judicial foreclosure sale (also known as a "trustee's
   sale") or its equivalent of any real property security for any of the Guaranteed Obligations and
   Other Obligations, it being understood by Guarantor that any such non-judicial foreclosure sale
   will destroy, by operation of California Code of Civil Procedure Section 580(d), all rights of any


                                                   -3-


                                                    28
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 29 of 49 Page ID #:78




  party to a deficiency judgment against the World Class CIYIBS I Managing Member or any other
  World Class CMBS I Managing Member, and, as a consequence, will destroy all rights which
  Guarantor would otherwise have (including the right of subrogation, the right of reimbursement,
  and the right of contnl>ution) to proceed against the World Class C:MBS I Managing Member
  and/or any other World Class C~S I Managing Member; (ii) any defense or benefits that may
  be derived from California Code of Civil Procedure Sections 580a, 580d or 726, and all other
  anti-deficiency and one form of action defenses under the Laws of California; (iii) any right to a
  fair value hearing under California Code of Civil Procedure Section 580a, or any other similar
  Law, to determine the size of any deficiency owing (for which Guarantor would be liable
  hereunder) following a non-judicial foreclosure sale or its equivalent; (iv) any defense or benefits
  that may be derived from California Civil Code Sections 2808, 2809, 2810, 2819, 2845, 2849 or
  2850, and all other suretyship defenses it would otherwise have under the Laws of California; (v)
  all benefits of any statute of limitations affecting the Guarantor's liability under or the
  enforcement of this Guaranty or any of the Guaranteed Obligations and Other Obligations; (vi)
  all setoffs and counterclaims; (vii) promptness, diligence, presentment, demand for perfonnance
  and protest; (viii) notice of nonperformance, default, acceleration, protest or dishonor; (ix)
  except for any notice otherwise required by applicable Laws that may not be effectively waived
  by the Guarantor, notice of sale or other disposition of Security; and (x) notice of acceptance of
  this Guaranty and of the existence, creation or incurring of new or additional Indebtedness, and
  all other notices of any kind with respect to any of the Guaranteed Obligations and Other
  Obligations. Without limiting the foregoing, Guarantor waives all rights and defenses arising out
  of an election of remedies by Investor, even though that election of remedies, such as a non-
  judicial foreclosure with respect to security for the Indebtedness, has destroyed the Guarantor's
  rights of subrogation and reimbursement against the World Class CMBS I Managing Member by
  the operation of Section 580d of the Code of Civil Procedure or otherwise.

           Without limiting the foregoing, or anyt)ring else contained in this Guaranty, Guarantor
   waives all rights and defenses that the Guarantor may have because the Indebtedness is secured
   by real property. This means, among other things:

                 (A)     The Investor may collect from the Guarantor without first foreclosing on
          any real or personal property collateral pledged by the World Class CMBS I Managine
          Member;and

                  (B)      If the Investor forecloses on any real property collateial pledged by the
          World Class CMBS I Managing Member: {1) the amount of the Indebtedness may be
          reduced only by the price for which that collateral is sold at the foreclosure sale, even if
          the collateral is worth more than the sale price; and (2) the Investor may collect from the
          Guarantor even if the Investor, by foreclosing on the real property collateral, has
          destroyed any right the Guarantor may have to collect :from the World Class CMBS I
          Managing Member.

   This is an unconditional and irrevocable waiver of any rights and defenses the Guarantor may
   have should the Indebtedness be secured by real property. These rights and defenses include, but
   are not limited to, any rights or defenses based upon Sections 580a, 580b, 580d or 726 of the
   California Code of Civil Procedure or comparable Laws.



                                                  -4-


                                                   29
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 30 of 49 Page ID #:79




  S.      Waiver of Subrogation. Guarantor waives the Guarantor's rights of subrogation and
  reimbmsem.ent and any other rights and defenses available to the Guarantor by reason of
  Sections 2787 to 2855, inclusive, of the California Civil Code, including (a) any defenses the
  Guarantor may have to its obligation under this Guaranty by reason of an election of remedies by
  Investor, and (b) any rights or defenses the Guarantor may have by reason of protection afforded
  to the World Class C:MBS I Managing Member with respect to the obligation so guaranteed
  pmsuant to the anti-deficiency or other Laws limiting or discharging the World Class CMBS I
  Managing Member's indebtedness, including, without limitation, Section 580a, 580b, 580d, or
  726 of the Code of Civil Procedure. Guarant.or shall not exercise, and hereby waives, any rights
  of subrogation, contribution, indemnity or reimbursement against any other World Class C:M:BS I
  Managing Member, and waives any right to enforce any remedy which Investor now has or may
  in the future have against any other World Class CMBS I Managing Member and any benefit o:t
  and any right to participate in, any security or any of the Guaranteed Obligations or Other
  Obligations now or in the future held by Investor. If the Guarantor nevertheless receives
  payment of any amount on account of any such subrogation, contribution, indemnity or
  reimbursement rights or otherwise in respect of any payment or performance by the Guarantor of
  the Guaranteed Obligations or Other Obligations prior to payment and performance in full of all
  the Guaranteed Obligations or Other Obligations, such amount shall be held in trust for the
  benefit of Investor and immediately paid to Investor for application to the Guaranteed
  Obligations and Other Obligations in such order and manner as Investor may determine.

  6.      World Class CMBS I Managing Member's Financial Condition. Guarantor assumes
  full responsibility for keeping fully informed of the financial condition of the World Class
  CMBS I Managing Member and all other circumstances affecting the World Class C:MBS I
  Managing Member's ability to perform its obligations to Investor and agrees that Investor will
  have no duty to report to Guarantor any information which Investor receives about the World
  Class CMBS I Managing Member's or Guarantor's financial condition or any circumstances
  bearing on its ability to perform.

  7.      Representations of the Guarantor. The Guarantor represents and warrants to Investor
  that:

       (a)      this Guaranty is executed at the request of the World Class CMBS I Managing
  Member;

         ('o)   the Guarantor has established adequate means of obtaining from World Class
  CMBS I Managin3 Member on a continuing basis information pen:aining t.o, and is now and on a
  continuing basis will be completely familiar with, the :financial condition, operations, properties
  and prospects of World Class CMBS I Managing Member;

          (c)    the Guarantor has received and approved the Operating Agreement; and

        (d)      no oral promises, assurances, representations or wananties have been made by or
  on behalf of Investor to induce the Guarantor to execute and deliver this Guaranty.

  8.    Indemnification by the Guarantor. Without limitation on the Guaranteed Obligations
  and any Other Obligations of the Guarantor or remedies of Investor under this Guaranty, the


                                                  -5-


                                                   30
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 31 of 49 Page ID #:80




   Guarantor shall indemnify, defend and save and hold harmless Investor from and against, and
   shall pay on demand, any and all losses, liabilities, damages, costs, expenses and charges
   (including the reasonable fees and disbursements of Investor's legal counsel) suffered or incurred
   by Investor as a result of:

          (a)     Any failure of any Guaranteed Obligations or Other Obligations to be the legal,
          valid and binding obligations of the World Class C:tvIBS I Managing Member enforceable
          against the World Class CMBS I Managing Member in accordance with its terms, except
          as enforcement may be limited by bankruptcy, insolvency or other similar Laws affecting
          the rights of creditors generally, or

          (b)   Any failure of the World Class C:MBS I Managing Member to pay and perform
          any Guaranteed Obligations or Other Obligations in accordance with the terms of such
          Guaranteed Obligations or Other Obligations.

   9.     Financial Information. Upon request, Guarantor shall furnish to Investor, within ninety
   (90) days after the end of each of Guarantor's fiscal years, a current (as of the end of such fiscal
   year) balance sheet of Guarantor, in scope and detail reasonably satisfactory Investor; provided,
   however, the delivery of such financial information shall be expressly contingent upon and
   Investor shall agree to keep any such financial information confidential and shall only be
   permitted to use such financial information for its internal business purposes. Such financial
   information shall not be used by Investor for any other pUipose and/or disclosed except as may
   be required by subpoena or otherwise by law.

   10.     Waivers and Amendments. No supplement to, modification or amendment o( or
   waiver, consent or approval under, any provision of this Guaranty shall be effective unless in
   writing and signed by Investor, and any waiver, consent or approval shall be effective only in the
   specific instance and for the specific purpose for which given.

   11.    Remedies. Each of the remedies provided in this Guaranty is cumulative and not
   exclusive ot and shall not prejudice, any other remedy provided in this Guaranty or by
   applicable Laws or under the Operating Agreement. Each remedy may be exercised from time to
   time as often as deemed reasonably necessary by Investor, and in such order and manner as
   Investor may reasonably determine. No failure or delay on the part of Investor in exercising any
   remedy shall operate as a waiver of such remedy; nor shall any single or partial exercise of any
   remedy preclude any other or further exercise of such remedy or of any other remedy.

   12.    Costs and Expenses. Guarantor shall pay to Investor on demand all actual, out-of-
   pocket costs, expenses and charges of Investor in connection with the enforcement ot or the
   exercise of any remedy or any other action taken by Investor under or in connection with, this
   Guaranty or the Indebtedness, including the actual, out-of-pocket fees and disbursements of
   Investor's legal counsel and other actual, out-of-pocket expenses.

   13.    Notices. Any notice required or permitted to be given under this Guaranty shall be in
   writing and either shall be mailed by certified mail, postage prepaid, return receipt requested, or
   sent by overnight air courier service, or personally delivered to a representative of the receiving




                                                    31
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 32 of 49 Page ID #:81




   party. All such communications shall be mailed, sent or delivered, addressed to the party for
   whom it is intended at its address set forth below.

   If to Guarantor:      NatinPaul
                         c/o WC World Class CMBS I, LLC
                         401 Congress Avenue, 33rd Floor
                         Austin, TX 78701

   With copy to:         World Class Capital Grolf LLC
                         540 Madison Avenue, 29 Floor
                         NewYork,NY 10022
                         Attn: Sheena Paul

   If to Investor:       HAR-CMBS I, LLC
                         c/o Armanino, LLP
                         11766 Wilshlre Boulevard, 9th Floor
                         Los Angeles, CA 90025
                         Attention: Harvey Bookstein

   with a copy to:       Law Office of Martin N. Burton
                         2026 Hildale Drive
                         La Canada, California 91011
                         Attention: Martin N. Burton, Esq.

   Any communication so addressed and mailed shall be deemed to be given on the earliest of (a)
   when actually delivered, (b) on the first business day after deposit with a reputable overnight air
   courier service (Federal Express and UPS are each agreed to be such a service), or (c) on the
   third business day after deposit in the United States mail, postage prepaid, in each case to the
   address of the intended addressee, and any communication so delivered in person shall be
   deemed to be given when receipted for by, or actually received by Investor or Guarantor, as the
   case may be. Either party may designate a change of address by written notice to the other by
   giving at least seven (7) days prior written notice of such change of address.

   14.     Binding Agreement. This Guaranty shall be binding on and inure to the benefit of the
   Guarantor and Investor and their respective successors and assigns, except that the Guarantor
   shall have no right to assign any interest under this Guaranty without the prior written consent of
   Investor. Investor may from time to time assign its interest under this Guaranty in whole or in
   part without notice to or the consent of the Guarantor.

   15.    Governing Law. This Guaranty shall be governed by, interpreted under, construed and
   enforced in accordance with the laws of the State of California, irrespective of California's
   choice-of-law principles.
   16.    Enforceability. Guarantor hereby acknowledges that: (a) the obligations undertaken by
   Guarantor in this Guaranty are complex in nature; (b) numerous possible defenses to the
   enforceability of these obligations may presently exist and/or may arise hereafter; (c) as part of
   Investor's consideration for making the Capital Contn"bution, Investor has specifically bargained


                                                   -1-


                                                   32
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 33 of 49 Page ID #:82




   for the waiver and relinquishment by Guarantor of all such defenses; and (d) Guarantor has had
   the opportunity to seek and receive legal advice from skilled legal counsel in the area of financial
   1ransaetions of the type contemplated herein. Given all of the above, Guarantor does hereby
   represent and confirm to Investor that Guarantor is fully informed regarding, and that Guarantor
   does thoroughly understand: (i) the nature of all such possible defenses; ('ti) the circumstances
   under which such defenses may arise; (iii) the benefits which such defenses might confer upon
   Guarantor; and (iv) the legal consequences to Guarantor of waiving such defenses. Guamntor
   acknowledges that Guarantor makes this Guaranty with the intent that this Guaranty and all of
   the informed waivers herein shall each and all be fully enforceable by Investor, and that Investor
   is induced to make the Capital Contnoution in material reliance upon the presumed full
   enforceability thereof.

   17.    Consent to Jurisdiction. The parties hereto agree that all actions or proceedings arising
   in connection with this Guaranty shall be tried and litigated exclusively in the state and federal
   courts located in the County of Los Angeles, State of California. This choice of venue is
   intended by the parties to be mandatory and not permissive in nature, thereby precluding the
   possibility of litigation between or among the parties with respect to or arising out of this
   Guaranty in any jurisdiction other than that specified in this section. Each party hereto waives
   any right that it may have to assert the doctrine forum non conveniens or similar doctrine or to
   object to venue with respect to any proceeding brought in accordance with this section, and
   stipulates that the state and federal courts located in the County of Los Angeles, State of
   California, shall have in personam jurisdiction and venue over each of them for the purpose of
   litigating any dispute, controversy or proceeding arising out of this Guaranty. Each party hereby
   authorizes and accepts service of process sufficient for personal jurisdiction in any action against
   it as contemplated by this section by means of registered or certified mail, retum receipt
   requested, postage prepaid, to its address for the giving of notices as set forth in this Guaranty, or
   in the manner set forth in the section of this Guaranty pertaining to notice. Any final judgment
   rendered against the party in any action or proceeding shall be conclusive as to the subject of
   such final judgment and may be enforced in other jurisdictions in any manner provided by law.

   18.    Legal Fees and Cost. If any party to this Guaranty institutes any action, suit,
   counterclaim, appeal, arbitration or mediation for any relief against another party, declaratory or
   otherwise (collectively an 11Action"), to enforce the terms hereof or to declare rights hereunder or
   with respect to any inaccuracies or material omissions in connection with any of the covenants,
   representations or warranties on the part of the other party to this Guaranty, then the prevailing
   party in such Action, whether by arbitration or final judgment, shall be entitled to have and
   recover of and from the other party all actual, out-of-pocket costs and expenses of the Action,
   including reasonable attorneys' fees and costs (at the prevailing party's .attorneys' then-prevailing
   rates as increased from time to time by the giving of advanced written notice by such counsel to
   such party) incurred in bringing and prosecuting such Action and/or enforcing any judgment,
   order, ruling or award (collectively, a "Decision") granted therein, all of which shall be deemed
   to have accrued on the commencement of such Action and shall be paid whether or not such
   Action is prosecuted to a Decision. A:JJ.y Decision entered in such Action shall contain a specific
   provision providing for the recovery of attomeys' fees and costs incurred in enforcing such
   Decision. A court or arbitrator shall fix the amount of reasonable attorneys' fees and costs upon
   the requem of either party. Any judgment or order entered in any final judgment shall contain a
   specific provision providing for the recovery of all costs and expenses of suit, including


                                                    -8-

                                                    33
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 34 of 49 Page ID #:83




   reasonable attorneys' fees and expert fees and costs (collectively "Costs") incurred in enforcing,
   perfecting and executing such judgment For the purposes of this paragraph, Costs shall include,
   without limitation, in addition to Costs incurred in prosecution or defense of the underlying
   action, reasonable attorneys' fees, costs, expenses and expert fees and costs incurred in the
   following: (a) postjudgment motions and collection actions; {b) contempt proceedings; (c)
   garnishment, levy, debtor and third party examinations; (d) discovery; (e) banlauptcy litigation;
   and (f) appeals of any order or judgment. "Prevailing party'' within the meaning of this section
   includes, without limitation, a party who agrees to dismiss an Action in consideration for the
   other party's payment of the amounts allegedly due or performance of the covenants allegedly
   breached, or obtains substantially the relief sought by such party.

   19.     Counterparts ; Facsimile Signatures. This Guaranty may be executed by the parties
   hereto in separate counterparts, each of which when so executed and delivered shall be an
   original, but all such counterparts shall together constitute one and the same instrument Each
   counterpart may consist of a number of copies hereof each signed by less than all, but together
   signed by all of the parties hereto. Facsimile signatures on this Guaranty shall be deemed
   original signatures. In the event this Guaranty is not executed by all the Guarantors, it shall
   nevertheless be binding upon the Guarantors who do execute a counterpart hereof.

   20.     Validity of Operating Agreement Guarantor hereby warrants to Investor that the
   Operating Agreement contains the valid, binding and enforceable obligations of World Class
   CMBS I Managing Member in accordance with its tenns and conditions. Guarantor further
   warrants that there are no defenses or rights of setoff of World Class CMBS I Managing
   Member, and that the Indebtedness is and shall be due and payable in accordance with the
   Guaranteed Obligations. It is not necessary for Investor to inquire into the powers of the World
   Class CMBS I Managing Member or the officers, directors, partners, trustees or agents acting or
   purporting to act on the World Class C:MBS I Managing Member's behalf or on behalf of the
   Guarantor

   21.      Default. Investor may declare the Guarantor in default under this Guaranty if Guarantor
   fails to perfonn any of its obligations under this Guaranty (beyond all applicable notice and cure
   periods) or becomes the subject of any bankruptcy, insolvency, arrangement, reorganization, or
   other debtor-relief proceeding under any federal or state law, whether now existing or hereafter
   enacted that, in the case of any involuntary actions, is not dismissed within ninety (90) days after
   the filing thereo:t:

   22.     Delay: Cumulative Remedies. No delay or failure by Investor to exercise any rights or
   remedy against the World Class CMBS I Managing Member or any Guarantor will be construed
   as a waiver of that right or remedy. All remedies of Investor against the World Class C:MBS I
   Managing Member and Guarantor are cumulative. The liability of Guarantor hereunder will in
   no way be affected or impaired by any failure on the part of Investor to realize upon or protect
   any of the Indebtedness or any collateral or security therefore, or to execute any lien upon or
   right of appropriation of any monies, credits or property of Guarantor possessed by Investor
   toward the liquidation of such Indebtedness or by any application of payments or credits thereon
   or by any extensions or renewals given by Investor.




                                                   -9-


                                                   34
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 35 of 49 Page ID #:84




   23.     Miscellaneous. The invalidity or unenforceability of any one or more provisions of this
   Guatanty will not affect any other provision. The provisions of this Guatanty will bind and
   benefit the heirs, executors, administrators, legal representatives, successors and assigns of
   Guarantor and Investor. Whenever the context requires, all terms used in the singular will be
   construed in the plural and vice versa, and each gender will include each other gender. Headings
   of the sections of this Guaranty are inserted for convenience only and are not a part hereof. The
   term "World Class CMBS I Managing Member" will mean both the named World Class CMBS I
   Mana!'}ng Member and any other person or entity at any time assuming or otherwise becoming
   primarily liable on all or any part of the Indebtedness.

   24.   Time of Essence. Time is of the essence with respect to every provision of this
   Guaranty.

   25.    Multiple Guarantors. If more than one person signs this Guaranty as Guarantor, the
   tenn Guarantor shall mean each such person, the obligations of each Guarantor shall be joint,
   sevezal and independent, and this Guaranty shall be construed and enforced as though each
   Guarantor executed a separate guaranty on the terms set forth in this Guaranty. Any Guarantor
   who is married agrees that Investor may look to all of his or her community property and
   separate property to satisfy bis or her obligations hereunder.

   26.    Nature of Guaranty. This Guaranty is a limited guaranty of payment and performance
   and not of collection, is continuing in nature and applies only to the Guaranteed Obligations
   (whether existing now or in the future), including (a) Guaranteed Obligations rising or accruing
   after bankruptcy of any person or entity related to or affiliated with World Class CMBS I
   Managing Member (other than Guarantor) or any sale or other disposition of any security for this
   Guaranty or for the obligations of any other person or entity related to or afliliated with World
   Class CMBS I Managing Member (other than Guarantor), and (b) any Guaranteed Obligations
   that survive repayment of the Capital Contribution. This Guaranty and any security for this
   Guaranty shall continue to be effective or be reinstated, as the case may be, if at any time any
   payment or performance of any Guaranteed Obligations is rescinded or must otherwise be
   returned by Investor or any other person upon the bankruptcy, insolvency or reorganization of
   any person or entity related to or affiHated with World Class C?vmS I Managing Member (other
   than Guarantor) or otherwise, all as though such payment or performance had not occurred. The
   Guarantor shall have no authority to revoke this Guaranty, but if any such revocation shall be
   deemed to have occmred by operation of law or otherwise, the provisions of this Guaranty shall
   continue to apply notwithstanding such revocation.

   27.  Waiver of Jury Trial. TO THE EXTENT PERMITIED BY APPLICABLE LAW,
   EACH OF INVESTOR AND THE GUARANTOR WANE TRIAL BY JURY IN ANY
   ACTION OR OTHER PROCEEDING (1NCLUDING COUNTERCLAIMS), WHETHER AT
   LAW OR EQUITY, BROUGHT BY INVESTOR OR THE GUARANTOR AGAINST THE
   OTHER ON MAITERS ARISJNG OUT OF OR IN ANY WAY RELATED TO OR
   CONNECTED WITH THIS GUARANTY, THE GUARANTEE D OBLIGATION S, TIIE
   CAPITAL CONTRIBUTION OR ANY TRANSACTIO N CONTEMPLA TED BY, OR THE
   RELATIONSHIP BETWEEN INVESTOR AND THE GUARANTOR OR ANY OTHER




                                                  35
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 36 of 49 Page ID #:85




  PARTY AFFILIATED WITH WORLD CLASS C:MBS I MANAGING :MEhmER OR ANY
  ACTION OR INACTION BY ANY PARTY UNDER, THE GUARANTEED OBLIGATIONS.

  "GUARANTOR":


   Ji¥!
  IN WITNESS WHEREOF, Guarantor has duly executed and delivered this Guaranty as of the
  date first above written.


                                        GUARANTOR:



                                        NA~~



                                        NA     :A , Trustee of the Natin Paul
                                        Managemen Trost Dated February 29, 2012




                                           -11-


                                            36
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 37 of 49 Page ID #:86




                              EX018lT 3


                                      37
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 38 of 49 Page ID #:87




                                      AMENDMENT TO
                          LIMITED LIABILITY COMPANY AGREEMENT
                                             of
                               WORLD CLASS CMBS I MM, LLC

                                           (HAR-CMBS I, LLC)




           THIS AMBNDl\IBNT TO LIMITED LIABILITY COMPANY AGREEMENT OF
    WORLD CLASS C:MBS I MM, LLC (this "Amendment''), is entered into by and between World
    Class Holdings, LLC, a Delaware limited liability company (the "Class A Member'') and HAR-
  __etvg38 I, LLC, a Delaware limited liability company (the "Class B Member"), effective as ofJuly
  r   /.15., 20}9.
                                              RECITALS

             A.     On December S, 2016, the Certificate of Formation of WORLD CLASS CMBS I
      ~     LLC, a Delaware limited liability company (the "Company"), was filed pursuant to the Act

            B.     The Class A Member, as Managing Member, and the Class B Member (collectively,
      the "Members") adopted that certain Limited Liability Company Agreement, dated as of
      December 7, 2016, for the Company (the "Agreement'').

             C.     Section 1.a of the Agreement requires that the Company shall pay the then total
      unpaid and outstanding Class B Invested Capital (originally, thirty million dollars ($30,000,000))
      to the Class B Member in full no later than December 7, 2018, the Class B Invested Capital
      Repayment Date.

             D.     As of January 21, 2019, the Company had paid a total of nineteen million dollars
      ($19,000,000) toward repayment of the Class B Invested Capital.

             B.     The Company has continued to make monthly distnl>utions of four hundred fifty
      thousand dollars ($450,000) to the Class B Member each month since the Class B Invested Capital
      Repayment Date.

              F.       The Members desire to amend certain provisions of Appendix "B" of the
      Agreement ("Appendix B''), governing the Tenns and Conditions Applicable For Class B
      Member, to extend the Class B Invested Capital Repayment Date and to memorialize that the
      monthly distributions will remain at four hundred fifty thousand dollars ($450,000) and that a
      portion of each such monthly distribution will be credited to repay the Class B Invested Capital,
      all as set forth herein.

            G.     Pursuant to Section 4.a. vii of Appendix B of the Agreement, an amendment to
      Appendix B requires the prior written consent of the Class A Member and the Class B Member.


                                                      1


                                                     38
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 39 of 49 Page ID #:88




                                             AGREEMENT
           NOW, THEREFORE, with reference to the foregoing Recitals, in consideration of the
   mutual covenants herein contained, and for other good and valuable consideratioQ, the receipt and
   sufficiency of which are hereby acknowledged, the Class A Member and the Class B Member
   hereby consent to and do amend Appendix B of the Agreement as follows:

                  1.      Section 1.a of Appendix B is amended by deleting the words "December 7,
   2018" in the fourth line and replacing them with the words "August 7, 2020."

                  2.       Section 1.a of Appendix B is further amended by adding the following to
   the end of Section I .a of Appendix B:

                  "Notwithstanding anything in this Section l .a or this Appendix "B" to the contrary,
                  the Company shall continue to make monthly distributions of no less than four
                  hundred fifty thousand dollars ($450,000), which amount shall be applied first to
                  distribute the monthly Class B Preferred Return to the Class B Member and then to
                  repay the Class B Invested Capital."

                  3.     Except as expressly amended and modified hereby, the Agreement and
   Appendix B shall not be affected in any other manner and shall remain in full force and effect as
   originally executed. All capitalized terms not otherwise defined or redefined herein shall have the
   same meaning ascribed to them in the Agreement and Appendix B.

                   4.      The Class A Member will promptly pay the costs and expenses associated
   with this Amendment including without limitation all costs and expenses of the Class B Member
   related to the negotiation and drafting of this Amendment, including without limitation reasonable
   attorney's fees associated therewith.

                   5.     This Amendment may be executed in two or more counterparts and by
   facsimile or pdf signature, each of which shall be deemed to be an original, but all of which
   together shall constitute one and the same insrument, to be effective as of the day and year first
   written above.

                                SIGNED ON THE FOLLOWING PAGE




                                                    2



                                                   39
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 40 of 49 Page ID #:89




         IN WITNESS WHEREOF, the undersigned has executed and delivered, this
    AMENDMENT TO THE LIMITED LIABILITY COMPANY AGREEMENT OF WORLD
    CLASS CMBS I MM, LLC as of the day and year first above written.



                                      CLASS A MEMBER
                                      MANAGING MEMBER

                                      WORLD CLASS HOLDINGS, LLC,
                                      a Delaware limited liability company




                                             President



                                      CLASS B MEMBER

                                      HAR-CMBS I, LLC
                                      a Delaware limited liability company

                                      By: HAR-       AGING ENTITY, LLC
                                             a Califi
                                                    a limited liability company,
                                             itsM a     Member



                                      By: ___,.   __________
                                           H ey A. Bookstein, as Trustee of the
                                           Haivey and Harriet Bookstein Living
                                           Trust u/d/t 8/11/99 for the benefit of
                                           H&IVey A. Bookstein
                                      Its: Managing Member




                                         3



                                        40
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 41 of 49 Page ID #:90




                                     GUARANTOR CONSENT

            The undersigned is the Guarantor of the Class B Member Preferred Return and return of
   the Class B Member's Capital Contribution on a preferred basis (as defined in that certain Guaranty
   dated December 7, 2016 (the ''Guaranty") and the Agreement, and collectively the "Company
   Payment Obligations"), pursuant to the Guaranty, and consents to this Amendment of Limited
   Liability Company Agreement of World Class CMBS I MM, LLC, and agrees that the Guaranty
   is in full force and effect and guarantees the repayment of the Company Payment Obligations, in
   accordance with the terms of the Guaranty.


                                                GUARANTOR




                                                 Management Trust Dated February 29, 2012




                                                    4



                                                   41
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 42 of 49 Page ID #:91




                              EXHlBlT 4.


                                      42
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 43 of 49 Page ID #:92




                             I.AW OFFICE OF MARTIN N. BURTON
                                       2026 Hillclale Drive
                                  La Canada Flintridge, CA 910 l t
                                          (818) 421-5340
                                    mburton@rnburtonlaw.com


                                             April 24, 2020

 ·VIA FEDERALEXPBESS
                                                     Cc:
   Natin Paul                                        \Vorld Class Capital Group ILC
   c/o \"(Forld Class Holdings, llC                  7'7 Fifth Avenue, 16cb Floor
   401 Congress Avenue, 33m Floor                    NewYor~ 1'"Y 10153
   Austin, 1'X 78701                                 _.\ttn: Sheena Paul


  Re:    NOTICB OF FAILURE TO PAY
  Dear Nate:

      1\s you know. I represent HAR-CMBS I, ILC (the ''Cass B Member''). I am writing pursuant
  to Section 2 of Appendi.,c "B,, C'Appendix B") of the World Class CMBS I MM, LLC I.imired
  Liability Compan)' Agreement. I am writing ro notify \Vorld Class C~ms 1 MM. Ul: (the
  "Company') that it has failed to make certain distributions and payments as required under Section
  t(a) of .Appendix B. If the Company fails to make the payments desaibed below wid1in five {S) days
  following delivery of this Notice of Failure to Pay, the aass B Member will declare a Company
  Default and the Class B Member may exercise any or all of the righlS set forth in, among other
  provisions, Section.c; 2(a), 2(b), and S(b) of Appendix B.

      Section l(a) of Appendix B provides that the Company is to make monthly distributions of the
  Oass B l>referred Retum (as defined therein) in the amount of $450,000 monthly!' and that the Class
  B Member will hold the amount of $1,350,000 {the equivalent of three mond1s' distributions of
  Cass B Preferred Return) as the Class B Member Reserve. The Amendment to Limired Liability
  Company Agreement of \l1orld Class CMBS I .MM, U..C dated July 25~ 2019 extended these
  requirements through August 7, 2020. However, the Company failed ro make the monthly
  distributions ofJanuary~ 2020; February., 2020; l\hrch, 2020; and Apri~ 2020. These failures required
  the Class B Member to utilize d1e Class B Member Reserve to pay for such distributions.

      Accordingly, the Qass B Member hereby demands that, on or before the fifth (S", day after the
  dare of delivery of this Notice, the Company make payment of p-c1St-due distributions to the Class B
  hiember in the amount of $1 JI00,000, and pay ro the Class B Member for the Class B Member
  Rt."Serve the amount of $1,350,000 which will replenish the Class B Reserve with a total of
  $1,350,000, to be held by the Class B Membt:r as an "evergreen" reserve as required by Section t(a)
  of Appendix B.




                                                    43
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 44 of 49 Page ID #:93


  Narin P;1ul
  World Clas~ CMBS I MM, LLC
  .April 24 .. 2020
  l>age 2 of 2



      In the event the Company fui)~ to m.tke such payments., the Chtss B Member will dechu.-e a
  Company Default ilS proYidcd in Section 2 of Appendix Band be entitlc::d to e.'<c:rcise any or all of
  the rights set forth in, ~unong other pro,·i~ions Sections 2(a), 2(b)~ and 5Q>) of Appendix B.

    The Cl~tss B Member furd1cr expects that, on or before May 1, 2020, the Company will make a
  monthly distribution in the }lmounr of S-150,000 for irs why 2020 payment, ,Uld continue to make
  monthly distribution:; of $450,000 on or before the first of each month thereaftei-.

      If you have any quc:;tions, please do not hesitate to contact me.




                                          t -fartin   N. Burton


  Cc (via email): Mr. H~1rvey Bookstein




                                                         44
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 45 of 49 Page ID #:94




                             LAW OFFICE OF MAR.TINN. BURTON
                                      2026 Hilldale Drive
                                 La Canada Flintridge, CA 91011
                                        (818) 421-5340
                                  mburton@mburtonlaw.com


                                             June4,2020

  VIA FEDERAL EXPRESS

                                                     Cc:
   Natin Paul                                        World Class Capital Group lLC
   c/o World Cass Holdings, LLC                      767 Fifth Avenu~ 160. Floor
   401 Congress Avenu~ 33m Floor                     New York, NY 10153
   Austin, TIC 78701                                 Attn: Sheena Paul


  Re:    NOTICB OF FAD..URB TO PAY
  Dear Nate:

       As you know, I represent HAR-CMBS I, U.C (the ccClass B Member'). I am writing pwsuant
  to Section 2 of Appendix "B" ('•Appendix B'j of the World Class CMBS I ~ I.LC Limited
  Liability Company Agreement I am writing to notify World Cass CMBS I ~ lLC (the
  "Company'') that it has failed to make certain distributions and payments as required under Section
  l(a) of Appendix B. If the Company &ils to make the payments described below within five (5) days
  following delivery of this Notice of Failure to Pay, the Class B Member will declare a Company
  De&ult and the Class B Member may exercise any or all of the rights set forth in, among other
  provisions, Sections 2(a), 2(b), and 5(b) of Appendix B.

       Section l(a) of Appendix B provides that the Company is to make monthly distributions of the
  Cass B Preferred Return (as defined therein) in the amount of $450,000 monthly, and that the Cass
  B Member will hold the amount of $1,350,000 (the equivalent of three months' distributions of
  Cass B Preferred Return) as the Class B Member Reserve. The Amendment to Limited Liability
  Company Agreement of World Class CMBS I MM, UC dated July 25, 2019 extended these
  requirements through August 7, 2020. However, the Company &iled to make the monthly
  distributions ofJanuary, 2020; February, 2020; March, 2020; April, 2020; and May, 2020. These
  failures required the Class B Member to utilize the Class B Member Reserve to pay, in part, for such
  distributions.

      Accoalingly, the Cass B Member hereby demands that, on or before the fifth (5~ day after the
  date of delivery of this Notic~ the Company make payment of past-due distributions to the Class B
  Member in the amount of $2,250,000, and pay to the Oass B Member for the Cass B Member
  Reserve the amount of $1,350,000 which will replenish the Class B Reserve with a total of
  $1,350,000, to be held by the Class B Member as an "evergreen" reserve as required by Section 1(a)
  of Appendix B.




                                                    45
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 46 of 49 Page ID #:95



  Natin Paul
  World Class CMBS I MM, LLC
  June4,2020
  Page 2 of2



      In the event the Company fails to make such payments, the Class B Member will declare a
  Company Default as provided in Section 2 of Appendi."< B, and will be en tided to exercise any or all
  of the rights set forth in, among other provisions Sections 2(a), 2(b), and S(b) of Appendbc B.

     lf you have any questions, please do not hesitate to con tact me.




  Cc (via emaiQ: Mr. Harvey Bookstein
                 Mr. Marc Books tein ·




                                                     46
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 47 of 49 Page ID #:96




                              EXHIBITS



                                      47
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 48 of 49 Page ID #:97




                             LAW OFFICE OF MARTIN N. BURTON
                                      2026 Hilldale Drive
                                 La Canada flintridge, CA 91011
                                         (818) 421-5340
                                   mburton@mburtonlaw.com


                               NOTICE OF DEFAULT
                                             July 6, 2020

  VIA FEDERAL EXPRESS
                                                     Cc:
   Natin Paul                                        World Cass Capital Group ILC
   c/o Wodd Class Holdings, LLC                      767 Fifth Avenue, 16m floor
   401 Congress Avenue, 33a1 Floor                   New York, NY 10153
   Austin,TX 78701                                   Attn: Sheena Paul


  Re:    NOTICE OF DEFAULT
  Dear Nate:

      As you know, I represent HAR-CMBS I, LLC (the "Class B Member"). I am writing pursuant
  to Section 2 of Appendix "B" ("Appendix B'1 of the World Class CMBS I MM, LLC Limited
  liability Company Agreement. I am writing to notify World Oass CMBS I MM, I.LC (the
  "Company'1 that it has failed to make certain distributions and payments as required under Section
  t(a) of Appendix B after five (5) days following delivery of a Notice of Non-Payment.

      Theref~ the CJeg B Member hereby decJRres a Company DefaulL The Class B Member
  may exercise any or all of the rights set forth in, among other provisions, Sections 2(a), 2{b), and
  S(b) of Appendix B.

      Section l{a) of Appendix B provides that the Company is to make monthly distributions of the
  Class B Preferred Retum (as defined therein) in the amount ofS450,000 monthly, and that the Class
  B Memberwill hold the amount ofSl,350,000 (the equivalent of three months• distributions of
  Oass B Preferred Retum) as the Oass B Member Reserve. The Amendment to Limited Liability
  Company Agreement of World Class CMBS I MM, LLC dated July 25, 2019 extended these
  requirements through August 7, 2020. However. the Company failed to make the monthly
  distributions of January, 2020; February, 2020; March, 2020; April, 2020; and May, 2020. These
  failures required the Cass B Member to utilize the Class B Member Reserve to pay, in part, for such
  distributions.

      On June 9, 2020, the Oass B Member received your wire of $225,000, which has been applied to
  reduce your past due distributions. However, there remain past-due distributions owing to the Class
  B Member in the amount of $2,025,000, and an obligation to replenish the Reserve in the amount of




                                                    48
Case 2:22-cv-02104-FLA-KS Document 5 Filed 03/30/22 Page 49 of 49 Page ID #:98



  Natin Paul
  World Class CMBS I Mi\.[, LLC
  July 6, 2020
  Page 2of2



  Sl,350,000. Jn addition, the Company failed to make the July 2020 payment in the amount of
  $450,000, which will now add to the defaulted amount. In addition, the Company is liable for any
  and alJ actual, reasonable, out-of-pocket expenses, costs and fees (including reasonable attorneys'
  fees and costs) arising from the failure of the Company to pay any amounts due. These fees
  currently exceed $4,625 and must also be paid under Section 2 of Appendix B.

          The Class B Member reserves all rights to take any and all steps to enforce the Company's
  obligations to make distributions and pay the amounts owed to the Class B Member as required
  under .Appendix B.




  Cc (via emaiQ: Mr. Harvey Bookstein
                 Mr. Marc Bookstein




                                                     49
